Filed 06/20/18                                     Case 18-22453                                                            Doc 224

                 8 Pages
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                  ppascuzzi@ffwplaw.com
            6
                 Attorneys for the Chapter 11 Trustee,
            7    W. Donald Gieseke

            8                               UNITED STATES BANKRUPTCY COURT

            9                                 EASTERN DISTRICT OF CALIFORNIA

           10                                       SACRAMENTO DIVISION

           11    In re:                                              CASE NO.: 18-22453-D-11
                 ECS REFINING, INC.,                                 Chapter 11
           12

           13                       Debtor.
           14                   NOTICE OF FILING SCHEDULE H: CODEBTORS; LIST OF
                              EQUITY SECURITY HOLDERS AND STATEMENT REGARDING
           15                       OWNERSHIP OF CORPORATE DEBTOR/PARTY
           16             W. Donald Gieseke, the duly appointed and acting Chapter 11 Trustee (the “Trustee”) in

           17    the above-referenced case, hereby files the following documents and incorporates by reference

           18    the Global Notes and Statement of Limitations, Methodology and Disclaimer Regarding the

           19    Debtor’s Schedules of Assets and Liabilities and Statement of Financial Affairs filed herein on

           20    June 15, 2018, as Docket Nos. 202 and 203.

           21      Exhibit         Description                                                    Page
                   1               Schedule H: Codebtors                                            3
           22
                   2               List of Equity Security Holders                                    5
           23
                   3               Statement Regarding Ownership of Corporate
                                   Debtor/Party                                                       8
           24

           25    Dated: June 20, 2018
                                                         THE BANKRUPTCY ESTATE OF ECS
           26                                            REFINING, INC.
           27                                            By:/s/ W. Donald Gieseke
                                                            W. DONALD GIESEKE
           28                                               Chapter 11 Trustee
                                                                                           Notice of Filing Schedule H: Codebtors;
                                                                                  List of Equity Security Holders and Statement of
                                                                 -1-                         Ownership of Corporate Debtor/Party
Filed 06/20/18     Case 18-22453   Doc 224




                 EXHIBIT 1
Filed 06/20/18                                                           Case 18-22453                                                                           Doc 224
     Fill in this information to identify the case:

                  ECS Refining Inc
     Debtor name __________________________________________________________________

                                            Eastern
     United States Bankruptcy Court for the:_______________________             CA
                                                                    District of ________
                                                                                    (State)
     Case number (If known):       2:2018bk22453
                                  _________________________




                                                                                                                                              Check if this is an
                                                                                                                                                 amended filing
    Official Form 206H
    Schedule H: Codebtors                                                                                                                                    12/15

    Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach
    the Additional Page to this page.


     1. Does the debtor have any codebtors?
                No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
           ✔
                 Yes

     2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
           creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each
           schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

            Column 1: Codebtor                                                                                Column 2: Creditor

                                                                                                                                                 Check all schedules
                  Name                     Mailing address                                                    Name
                                                                                                                                                 that apply:

     2.1         Kent Taggart
                _____________________       PO Box 8301
                                           ________________________________________________________           Ozark Liquidation Services, LLC  D                      
                                                                                                               _____________________
                                           Street                                                                                             
                                                                                                                                              ✔ E/F
                                           ________________________________________________________                                           
                                                                                                                                              ✔ G
                                            Fayetteville            AR              72703
                                           ________________________________________________________
                                           City                       State               ZIP Code

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                _____________________      ________________________________________________________            _____________________              D
                                           Street                                                                                                E/F
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                                           Street                                                                                                E/F
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                                           ________________________________________________________
                                           City                       State               ZIP Code




    Official Form 206H                                               Schedule H: Codebtors                                                         page 1 of ___
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                 EXHIBIT 2
Filed 06/20/18                                     Case 18-22453                                             Doc 224


                 2 Pages
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                 Attorneys for the Chapter 11 Trustee,
            7    W. Donald Gieseke

            8                             UNITED STATES BANKRUPTCY COURT

            9                                EASTERN DISTRICT OF CALIFORNIA

           10                                      SACRAMENTO DIVISION

           11    In re:                                         CASE NO.: 18-22453-D-11
                 ECS REFINING, INC.,                            Chapter 11
           12

           13                      Debtor.
           14                           LIST OF EQUITY SECURITY HOLDERS
           15             To the best of the Chapter 11 Trustee’s knowledge, information and belief, based
           16    on the Debtor’s records, the following is the list of the equity security holders of the
           17    debtor, including the last known address and number and kind of interests registered in the
           18    name of each holder.
           19
                  Registered name of equity          Type of interest        Number of shares of
           20     security holder and last known     registered              Common Stock or other
                  address or place of business                               interest registered
           21     James Taggart                          Shareholder              5.1%
                  320 Bellevue Court
           22     Los Altos, CA 94024
                  Kenneth Taggart                        Shareholder              4.9%
           23     PO Box 61178
                  Palo Alto, CA 94036
           24
                  Robert A. Horne and Nicholas           Shareholder               50%
           25     Burger
                  c/o ZS Fund L.P.
           26     340 Madison Avenue, 19th Floor
                  New York, NY 10173
           27     Canadus Technologies                   Shareholder               25%
                  106 Tejas Drive
           28     Terrell, TX 75160

                                                                                   LIST OF EQUITY SECURITY HOLDERS
                                                               -1-
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            1    Registered name of equity        Type of interest        Number of shares of
                 security holder and last known   registered              Common Stock or other
            2    address or place of business                             interest registered
            3    All Metals, Inc.                 Shareholder                    15%
                 PO Box 61178
            4    Palo Alto, CA 94306

            5    Dated: June 20, 2018
                                                                  /s/ W. Donald Gieseke
            6                                                     W. Donald Gieseke
                                                                  Chapter 11 Trustee
            7

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                                                                                 LIST OF EQUITY SECURITY HOLDERS

                                                            -2-
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                 EXHIBIT 3
Filed 06/20/18                                                  Case 18-22453                                                                                                             Doc 224
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           ECS REFINING, INC.
                                                                                                                           18-22453-D-11
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                              The following additional information is required when filing this form in an adversary proceeding.

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                                             ECS     Refining, Inc.
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               $GGUHVV        PO Box 61178, Palo Alto, CA 94306

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                                                                    Debtor's records, the foregoing
    To the best of my knowledge, information and belief based on the
    is true and correct.
    'DWHG June 20, 2018                                                                                     
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